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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                  CASE NO.: 2:21-mj-1025-MRM

CHRISTOPHER JOHN WORRELL

 Judge:         Mac R. McCoy            Counsel for          Simon R. Eth
                                        Government
 Deputy         Jackie Clay             Counsel for          Landon Miller
 Clerk:                                 Defendant:
 Court          Digital                 Pretrial/Probatio    Tad Parks
 Reporter                               n
 Date/Time  March 12, 2021              Interpreter          N/A
            03:27 PM-04:07 PM
 Bench Time 40 Minutes


                    Initial Appearance - Rule 5(c)/Bond Hearing

Court advised defendant of rights. Court advised the Defendant about his rights to
have the hearing in person. Defendant consented to the hearing to be held by video
conference. Government summarized allegations and possible penalties.

Government seeking detention based on a risk of harm and danger to community
and person. The Defendant is seeking release. The Government is prepared to go
forward by proffer. After proffer and argument by the Government and Defense
counsel and review of the pretrial report and exhibit provided, the Court finds that
the Government has not met its burden and that there are conditions that can be set.
The Government objects to the bond. The objection is noted on the record. The
Court will prepare a bond and conditions of release and the defendant is to be
released and must report to pretrial services today after processing. The Government
is requesting a stay pending an appeal for the bond and release of the defendant. The
Court denies the motion.

Oral Order as required by Rule 5(f), the United States is ordered to produce all
exculpatory evidence to the defendant pursuant to Brady v. Maryland and its
progeny. Failing to do so in a timely manner may result in sanctions, including
exclusion of evidence, adverse jury instruction, dismissal of charges and contempt
proceedings.
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Defendant waives Identity Hearing and production of the warrant. Court explains
the transfer rights of the Defendant.

The Defendant waives his right to a preliminary hearing in this District and in the
District for the District of Columbia.

Court orders Defendant removed to the District for the District of Columbia for
further proceedings.




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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA                      CASE NO.: 2:21-mj-1025-MRM

v.                                            Charging District:
                                              District of Columbia
CHRISTOPHER JOHN WORRELL                      Charging District Case No.:
                                              1:21-mj-296
                                      /

                 ORDER ON REMOVAL PROCEEDINGS AND
                  COMMITMENT TO ANOTHER DISTRICT

      The Defendant was arrested and presented for an Initial Appearance before

this Court in connection with removal proceedings pursuant to Fed. R. Crim. P. 5(c),

32.1(a)(5), and 40.. The Court informed Defendant of the rights specified in Fed. R.

Crim. P. 5(c) and the provisions of Fed. R. Crim. P. 20. Defendant retained private

counsel who appeared at the Initial Appearance. Defendant waived the right to an

identity hearing. Defendant also waived the right to production of the warrant.

Defendant, through Defendant’s counsel, also waived a preliminary hearing in this

District and in the United States District Court for the District of Columbia pursuant

to Fed. R. Crim. P. 5.1(a).

      Following a detention hearing before the Undersigned, Defendant was

released on conditions pending Defendant’s removal to the United States District

Court for the District of Columbia. The chief judge of the charging District has, on

the Government’s motion, entered an order staying Defendant’s release pending
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review of the detention decision by that court. (Doc. 13). Despite the Undersigned’s

order of release, therefore, Defendant remains in custody.

      Accordingly, the Court ORDERS that:

      1.     Unless the chief judge of the charging District orders otherwise, the

             United States Marshal must promptly transport the Defendant, together

             with a copy of this Order, to the charging District and deliver the

             Defendant to the United States Marshal for that District, or to another

             officer authorized to receive the Defendant.

      2.     The United States Marshal or authorized officer in the charging District

             should immediately notify the United States Attorney and the Clerk of

             Court for that District of the Defendant’s arrival so that further

             proceedings may be promptly scheduled.

      3.     The Clerk of this Court is directed to promptly transmit the papers to

             the charging District.

      DONE and ORDERED in Fort Myers, Florida on March 12, 2021.




Copies furnished to:
Counsel of Record
Unrepresented Parties
United States Marshals Service



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                                                                                                                             BOND

                                         U.S. District Court
                                 Middle District of Florida (Ft. Myers)
                         CRIMINAL DOCKET FOR CASE #: 2:21-mj-01025-MRM-1


 Case title: USA v. Worrell                                                            Date Filed: 03/12/2021
 Other court case number: 1:21-mj-296 District of Columbia                             Date Terminated: 03/15/2021


 Assigned to: Magistrate Judge Mac R.
 McCoy

 Defendant (1)
 Christopher John Worrell                                             represented by Landon P. Miller
 TERMINATED: 03/15/2021                                                              MaNgone & Miller Law Offices
                                                                                     Suite 502
                                                                                     2335 Stanford Court
                                                                                     Naples, FL 34112
                                                                                     239/774-4100
                                                                                     Fax: 239/774-7888
                                                                                     Email:
                                                                                     Landonmiller@naplesdefenseattorney.com
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Designation: Retained

 Pending Counts                                                                        Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 18:1752.P RESTRICTED BUILDING OR
 GROUNDS



 Plaintiff
 USA                                                                  represented by Simon R. Eth
                                                                                     US Attorney's Office - FLM

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                                                                                    Room 3-137
                                                                                    2110 First Street
                                                                                    Ft Myers, FL 33901
                                                                                    239/461-2235
                                                                                    Fax: 239/461-2219
                                                                                    Email: Simon.Eth@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Retained

  Date Filed             #    Docket Text
  03/12/2021             1 Arrest pursuant to Rule 5(c)(2) of Christopher John Worrell from the District of Columbia.
                           (jmc) (Entered: 03/12/2021)
  03/12/2021             2 NOTICE OF HEARING as to Christopher John Worrell: Initial Appearance - Rule 5(c)set
                           for 3/12/2021 at 02:30 PM before Magistrate Judge Mac R. McCoy by video conference.
                           The Clerk of Court will transmit instructions for joining the video conference by separate
                           email to the required participants. NOTE THE FOLLOWING SPECIAL PROCEDURES:
                           (1) Only Defendant and Defendant's counsel may join the video conference beginning at
                           2:30 PM to permit Defendant and counsel to confer before the formal hearing begins, and
                           the Court allocates the first 30 minutes of the video conference for that purpose; and (2) all
                           other hearing participants must join the video conference promptly at but no sooner than
                           3:00 PM, at which time the formal hearing will commence.(jmc) (Entered: 03/12/2021)
  03/12/2021             3 NOTICE OF ATTORNEY APPEARANCE: Landon P. Miller appearing for Christopher
                           John Worrell (Miller, Landon) (Entered: 03/12/2021)
  03/12/2021             5 ORAL MOTION for Detention by USA as to Christopher John Worrell. (jmc) (Entered:
                           03/12/2021)
  03/12/2021             6 ORAL MOTION for Bond by Christopher John Worrell. (jmc) (Entered: 03/12/2021)
  03/12/2021             7 Minute Entry for Virtual proceedings held before Magistrate Judge Mac R. McCoy:
                           denying 5 ORAL Motion for Detention as to Christopher John Worrell and granting 6
                           ORAL Motion for Bond. Bond set for Christopher John Worrell (1) 75,000.00 as to
                           Christopher John Worrell (1); INITIAL APPEARANCE in Rule 5(c)(3) proceedings held
                           on 3/12/2021 as to Christopher John Worrell from the District of Columbia. ; Bond
                           Hearing as to Christopher John Worrell held on 3/12/2021; Detention Hearing as to
                           Christopher John Worrell held on 3/12/2021. (Digital) (jmc) (Entered: 03/12/2021)
  03/12/2021             8 ORAL MOTION to Stay Pending Appeal of Bond by USA as to Christopher John Worrell.
                           (jmc) (Entered: 03/12/2021)
  03/12/2021             9 ORAL ORDER denying 8 Motion for Stay Pending Appeal as to the Bond for
                           Christopher John Worrell. Signed by Magistrate Judge Mac R. McCoy on 3/12/2021.
                           (jmc) (Entered: 03/12/2021)
  03/12/2021           10 ORDER as to Christopher John Worrell: Pursuant to the Due Process Protections
                          Act, the Court confirms the United States' obligation to produce all exculpatory
                          evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its
                          progeny and orders the United States to do so. Failing to do so in a timely manner
                          may result in consequences, including exclusion of evidence, adverse jury
                          instructions, dismissal of charges, contempt proceedings, and sanctions. Signed by
                          Judge Timothy J. Corrigan on 12/2/2020. (jmc) (Entered: 03/12/2021)
  03/12/2021            11 ORAL ORDER as required by Rule 5(f), the United States is ordered to produce all
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                           exculpatory evidence to the defendant pursuant to Brady v. Maryland and its
                           progeny. Failing to do so in a timely manner may result in sanctions, including
                           exclusion of evidence, adverse jury instruction, dismissal of charges and contempt
                           proceedings as to Christopher John Worrell Signed by Magistrate Judge Mac R.
                           McCoy on 3/12/2021. (jmc) (Entered: 03/12/2021)
  03/15/2021           12 Unsecured BOND entered as to Christopher John Worrell in amount of $ 75,000.00.
                          and ORDER Setting Conditions of Release as to Christopher John Worrell (1)
                          75,000.00. Not fully executed by surety and third-party custodian in light of order
                          staying release. Signed by Magistrate Judge Mac R. McCoy on 3/15/2021. (jmc) .
                          (Entered: 03/15/2021)
  03/15/2021           13 NOTICE filing the ORDER on Government's Emergency Stay by USA as to Christopher
                          John Worrell. (jmc) (Entered: 03/15/2021)
  03/15/2021           14 ORDER OF REMOVAL pursuant to Rule 5(c)(3) to the District of Columbia as to
                          Christopher John Worrell. Signed by Magistrate Judge Mac R. McCoy on 3/12/2021.
                          (jmc) (Entered: 03/15/2021)
  03/15/2021                  NOTICE to District of Columbia of a Rule 5 or Rule 32 Initial Appearance as to
                              Christopher John Worrell regarding your case number: 1:21-mj-296. Using your PACER
                              account, you may retrieve the docket sheet and any documents via the case number link.
                              No documents/record will be sent. If you require certified copies of any documents please
                              send a request to InterdistrictTransfer_FLMD@flmd.uscourts.gov. If you wish the court to
                              use a different email address in the future, please send a request to update your address to
                              InterdistrictTransfer_TXND@txnd.uscourts.gov. (jmc) (Entered: 03/15/2021)



                                                         PACER Service Center
                                                             Transaction Receipt
                                                                03/19/2021 11:31:23
                                    PACER
                                                   BrittanyBryant:6635828:0 Client Code:
                                    Login:
                                                                              Search       2:21-mj-01025-
                                    Description: Docket Report
                                                                              Criteria:    MRM
                                    Billable
                                                   2                          Cost:        0.20
                                    Pages:
                                                                              Exempt
                                    Exempt flag: Exempt                                    Always
                                                                              reason:


PACER fee: Exempt




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